Case 2:10-cr-00547-RFB-PAL    Document 158       Filed 12/10/10   Page 1 of 1
                 +                                    *



 1

2
3                         UNITED STATES DISTRICT CO URT
4                               DISTRICT O F NEVADA

5
6 UNITED STATES OF AMERICA,             )        CASE NO.2:10-cr-0547-RLH(RJJ)
                                        )
 7     Plaintiff,                       )
                                        )
 8 vs.                                  )
                                        )
 9                                      )        ORDER DIRECTING THE U.S.
   CATHLEEN EUGENIA RENNEY,             )        MARSHAL TO ARRANGE
10                                      )        TRANSPORTATION AFTER
        Defendant.                      )        COURT APPEARANCE
11
12       Upon review of the defendant's Ex Parte M otion for Order Directing tbe U.S.
13 M arshalto Arrange Transpodation AfterCourtAppearance,and good cause appearing

14 therefore,
15        IT IS HEREBY O RDERED thatthe United States M arshalis directed to arrange
16 one-waytranspodation necessaryfordefendantCathleenEugenia Renneyto travelfrom
17 LasVegas,Nevada toA nchorage,Alaska on orafterFriday,Decem ber10,2010 at8:30
18 a.m .following herappearance before M agistrate Robed J.Johnston forherarraignment

19 and plea.
20        This order is lim ited to paym ent of one-way transpodation from the above-
21 referenced coud appearance only.
22        DATEDthi
                 s1# dayofDecember,2010.
23
                                                       z?     ' ---
24                                       U
                                             nited States M agistrate Judge
25
26
27
28
